
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-08-192-CV

BRIAN KNOTTS	APPELLANT



V.



KAREN HEADLEY AND LANNY HEADLEY, 				APPELLEES

INDIVIDUALLY, AND ON BEHALF OF 

THE ESTATE OF JEFFREY HEADLEY	



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FROM THE 17TH DISTRICT COURT 
OF TARRANT COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On October 17, 2008, we notified appellant that his brief had not been filed as required by Texas Rule of Appellate Procedure 38.6(a). &nbsp;
Tex. R. App. P.
 38.6(a). &nbsp;We stated we could dismiss the appeal for want of prosecution unless appellant or any party desiring to continue this appeal filed with the court within ten days a response showing grounds for continuing the appeal. &nbsp;We have not received any response.

Because appellant’s brief has not been filed, we dismiss the appeal for want of prosecution. &nbsp;
See
 
Tex. R. App. P.
 38.8(a), 42.3(b).

Appellant shall pay all costs of this 
appeal, for which let execution issue.



PER CURIAM 		





PANEL: &nbsp;DAUPHINOT, HOLMAN, and GARDNER, JJ. &nbsp;



DELIVERED: &nbsp;November 20, 2008 &nbsp;

FOOTNOTES
1:See 
Tex. R. App. P.
 47.4.




